Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 1 of 53 Page ID
                                 #:83660
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 2 of 53 Page ID
                                 #:83661
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 3 of 53 Page ID
                                 #:83662
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 4 of 53 Page ID
                                 #:83663
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 5 of 53 Page ID
                                 #:83664
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 6 of 53 Page ID
                                 #:83665
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 7 of 53 Page ID
                                 #:83666
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 8 of 53 Page ID
                                 #:83667
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 9 of 53 Page ID
                                 #:83668
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 10 of 53 Page ID
                                  #:83669
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 11 of 53 Page ID
                                  #:83670
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 12 of 53 Page ID
                                  #:83671
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 13 of 53 Page ID
                                  #:83672
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 14 of 53 Page ID
                                  #:83673
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 15 of 53 Page ID
                                  #:83674
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 16 of 53 Page ID
                                  #:83675
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 17 of 53 Page ID
                                  #:83676
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 18 of 53 Page ID
                                  #:83677
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 19 of 53 Page ID
                                  #:83678
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 20 of 53 Page ID
                                  #:83679
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 21 of 53 Page ID
                                  #:83680
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 22 of 53 Page ID
                                  #:83681
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 23 of 53 Page ID
                                  #:83682
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 24 of 53 Page ID
                                  #:83683
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 25 of 53 Page ID
                                  #:83684
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 26 of 53 Page ID
                                  #:83685
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 27 of 53 Page ID
                                  #:83686
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 28 of 53 Page ID
                                  #:83687
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 29 of 53 Page ID
                                  #:83688
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 30 of 53 Page ID
                                  #:83689
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 31 of 53 Page ID
                                  #:83690
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 32 of 53 Page ID
                                  #:83691
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 33 of 53 Page ID
                                  #:83692
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 34 of 53 Page ID
                                  #:83693
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 35 of 53 Page ID
                                  #:83694
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 36 of 53 Page ID
                                  #:83695
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 37 of 53 Page ID
                                  #:83696
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 38 of 53 Page ID
                                  #:83697
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 39 of 53 Page ID
                                  #:83698
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 40 of 53 Page ID
                                  #:83699
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 41 of 53 Page ID
                                  #:83700
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 42 of 53 Page ID
                                  #:83701
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 43 of 53 Page ID
                                  #:83702
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 44 of 53 Page ID
                                  #:83703
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 45 of 53 Page ID
                                  #:83704
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 46 of 53 Page ID
                                  #:83705
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 47 of 53 Page ID
                                  #:83706
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 48 of 53 Page ID
                                  #:83707
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 49 of 53 Page ID
                                  #:83708
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 50 of 53 Page ID
                                  #:83709
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 51 of 53 Page ID
                                  #:83710
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 52 of 53 Page ID
                                  #:83711
Case 2:04-cv-09049-DOC-RNB Document 3848-9 Filed 05/28/08 Page 53 of 53 Page ID
                                  #:83712
